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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                          Roanoke Division

ROGER S. FULLER, JR.,

          Plaintiff,

v.                                            Civil Action No. 7:17CV564

CARILION CLINIC,
CARILION CHIEF OF POLICE STEVE LUGAR,
and CARILION POLICE CAPT. RON DONELSON,

          Defendants.


           ORDER VACATING PRETRIAL CONFERENCE AND TRIAL
                    AND DISMISSING CIVIL ACTION

     Pursuant to a mediation conference conducted by Magistrate

Judge Joel C. Hoppe on June 27, 2019, this Court has been advised

that the matters in controversy have been compromised and settled.

Therefore, it is ORDERED that this civil action be, and the same is

hereby, DISMISSED WITH PREJUDICE and retired from the docket of the

Court, subject to reopening on motion of any party, and for good

cause shown, within 90 days. Specifically, the pretrial conference

and trial in this civil action are hereby VACATED.

     The parties need not submit any additional proposed dismissal

or other final order unless it is required by law or is necessary

under the terms of any agreement resolving this civil action.

     IT IS SO ORDERED.

     The Clerk is directed to transmit a copy of this order to

counsel of record herein.
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    DATED:      June 28, 2019



                                  /s/ Frederick P. Stamp, Jr.
                                  FREDERICK P. STAMP, JR.
                                  UNITED STATES DISTRICT JUDGE




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